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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

  UNITED STATES OF AMERICA,
                                                  1:25-cr-00129-1
                Plaintiff,
                                                  District Judge Harjani
           v.
                                                 Magistrate Judge McShain
  JOSE GREGORIO SOSA CARDONA,

                Defendant.


                                       ORDER

       Initial appearance and arraignment held on 03/10/2025. Defendant appears in
response to arrest in this District on 03/10/2025. Retained counsel Attorney Jacob
Briskman appears on behalf of the Defendant. Defendant informed of the charges
against him in the Indictment and the maximum possible sentence/fine if convicted
of the charges. Defendant acknowledged receipt of the Indictment; waived formal
reading of Indictment; and, entered a plea of not guilty to the Indictment. The
Government orally moved to detain and for a detention hearing pursuant to 18 U.S.C
§§ 3142(f)(2)(A), (f)(2)(B). For the reasons stated on the record, the Court finds that
the Government has met its burden and is entitled to a detention hearing pursuant
to 18 U.S.C §§ 3142(f)(2)(A), (f)(2)(B). In-person detention hearing is set before
Magistrate Judge McShain for 03/12/2025 at 1:00 p.m. in Courtroom 1025. Pretrial
Services may participate in the hearing telephonically. Any potential third-party
custodian is required to attend the detention hearing in-person on 03/12/2025.
Defendant is remanded to the custody of the U.S. Marshal until further order of the
Court. Rule 16.1(a) conference to be held by 03/24/2025. Status hearing is set before
Judge Harjani on 04/01/2025 at 9:45 a.m. Pretrial motion schedule is deferred until
the initial status hearing before Judge Harjani. The Government's unopposed oral
motion to exclude time is granted. The time from 03/10/2025 through 04/01/2025 is
excluded under 18 U.S.C. § 3161(h)(7) to serve the ends of justice. Excluding time will
permit the parties to review discovery materials and allow the time that is reasonably
necessary for effective preparation. Such delay outweighs the interests of the public
and the defendant in a speedy trial, particularly at this early stage of the case.
Pursuant to Fed. R. Crim. P. 5(f)(1), the Court confirmed the continuing obligation of
the United States to disclose information favorable to the Defendant as to guilt or
punishment, and possible consequences of nondisclosure. For further details, please
see the attached written order.
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       The Government's oral motion to unseal the case is granted. The Clerk's Office
is directed to unseal this case.

      IA: 00:13
      AR: 00:05


                                       _____________________________________
                                       HEATHER K. McSHAIN
                                       United States Magistrate Judge

DATE: March 10, 2025




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